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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

ORLANDO DIVISION
In re:
MASSOUD RAJABI, CASE NO.:: 6:18-bk-07976-ABB
Debtor. /
CHAPTER 13 PLAN

A. NOTICES.

Debtor! must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if

neither box is checked, the provision will be ineffective if set out later in the Plan.

 

 

 

 

 

 

A limit on the amount of a secured claim based on a valuation which | Included | Not Included
may result in a partial payment or no payment at all to the secured | 5 o
creditor. See Sections C.5(d) and (e). A separate motion will be filed. | xxx
Avoidance of a judicial lien or nonpossessory, nonpurchase money | Included | Not Included
security interest under 11 U.S.C. § 522(f). A separate motion will be | 2 AXXX
filed. See Section C.5(e).
Nonstandard provisions, set out in Section E. Included | Not Included
oOo oO
XXX

 

B. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
the Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any
portion not retained will be disbursed to allowed claims receiving payments under the Plan
and may cause an increased distribution to the unsecured class of creditors.

$758.00 from month 1 through 60.

 

' All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.

 
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C. PROPOSED DISTRIBUTIONS.

1. ADMINISTRATIVE ATTORNEY’S FEES.

Base Fee $4,500.00 Total Paid Prepetition $1,500.00 Balance Due $3,000.00

De DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 

Acct. No. Creditor Total Claim Amount

 

 

 

 

 

 

 

3. PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

 

Last Four Digits of Acct. No. | Creditor Total Claim Amount

 

NONE

 

 

 

 

 

 

4, TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

2. SECURED CLAIMS, Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the Plan
shall be deemed contractually paid on time.
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(a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to
Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. If the Plan provides for curing prepetition arrearages on a mortgage on
Debtor’s principal residence, Debtor will pay, in addition to all other sums due under the
proposed Plan, all regular monthly postpetition mortgage payments to the Trustee as part
of the Plan. These mortgage payments, which may be adjusted up or down as provided for
under the loan documents, are due beginning the first due date after the case is filed and
continuing each month thereafter. The Trustee shall pay the postpetition mortgage
payments for Debtor’s principal residence on the following mortgage claims:

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

 

 

 

 

 

 

 

 

 

 

(b) Claims Secured by Other Real Property Which Debtor Intends to Retain -
Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
Through the Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor
will pay, in addition to all other sums due under the proposed Plan, all regular monthly
postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
payments, which may be adjusted up or down as provided for under the loan documents,
are due beginning the first due date after the case is filed and continuing each month
thereafter. The Trustee shall pay the postpetition mortgage payments on the following
mortgage claims:

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

 

 

 

 

 

 

 

 

 

 
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(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage
Modification. If Debtor obtains a modification of the mortgage, the modified payments
shall be paid through the Plan. Pending the resolution of a mortgage modification request,
Debtor shall make the following adequate protection payments to the Trustee: (1) for
homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
spouse, if any (after deducting homeowners association fees), or the normal monthly
contractual mortgage payment; or (2) for non-homestead, income-producing property, 75%
of the gross rental income generated from the property.

 

 

 

 

 

 

 

 

 

Last Four Digits Creditor Collateral Address | Adequate
of Acct. No. Protection Payment
(d) Claims Secured by Real Property or Personal Property to Which Section 506

Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
not apply to a claim secured solely by Debtor’s principal residence. A separate motion to
determine secured status or to value the collateral must be filed. The secured portion
of the claim, estimated below, shall be paid. Unless otherwise stated in Section E, the
payment through the Plan does not include payments for escrowed property taxes or
insurance.

 

 

 

 

 

 

 

 

 

 

 

 

Last Four | Creditor Collateral | Claim Value Payment | Intere
Digits of Description | Amount Through | st
Acct. No. / Plan Rate
Address
NONE Villas at 1919 $135,205.80 | $100,000.00 | $632.07 6.5%
Lakeside Summer (But the
Condominiu | Club Dr. Debtor
m Unit 105 disputes
Association | Orlando, FL this
payment)
(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.

§ 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
nonpossessory, nonpurchase money security interest because it impairs an exemption or
under § 506 to determine secured status and to strip a lien.

 

Last Four Digits of Acct.

No.

Creditor

Collateral Description /
Address

 

 

 

 

 

 
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(f)

Claims Secured by Real Property and/or Personal Property to Which Section

506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a).
The claims listed below were either: (1) incurred within 910 days before the petition date
and secured by a purchase money security interest in a motor vehicle acquired for the
personal use of Debtor; or (2) incurred within one year of the petition date and secured by
a purchase money security interest in any other thing of value. These claims will be paid
in full under the Plan with interest at the rate stated below.

 

 

 

 

 

 

 

 

 

 

 

Last Four Creditor Collateral Claim Payment Interest
Digits of Description/ | Amount Through Rate
Acct. No. Address Plan

(g) Claims Secured by Real or Personal Property to be Paid with Interest Through

the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full

under the Plan with interest at the rate stated below.

 

 

 

 

 

 

 

 

 

 

 

 

Last Four Creditor Collateral Claim Payment Interest

Digits of Description/ | Amount Through Rate

Acct. No. Address Plan
(h) Claims Secured by Personal Property — Maintaining Regular Payments and
Curing Arrearage, if any, with All Payments in Plan.

Last Four Creditor Collateral Regular Arrearage

Digits of Acct. Description Contractual

No. Payment

 

 

 

 

 

 

 

 
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(i) Secured Claims Paid Directly by Debtor. The following secured claims are being
made via automatic debit/draft from Debtor’s depository account and are to continue to be
paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft.
The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any
codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is
intended to terminate or abrogate Debtor’s state law contract rights.

 

Last Four Digits of Acct.

No.

Creditor Property/Collateral

 

 

 

 

 

 

 

(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
creditors upon the filing of this Plan.

 

Last Four Digits of Acct.

No.

Collateral/Property
Description/Address

Creditor

 

 

 

 

 

 

 

(k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to
make payments to the following secured creditors. The automatic stay is terminated in rem
as to Debtor and in rem and in personam as to any codebtor with respect to these creditors
upon the filing of this Plan. Debtor’s state law contract rights and defenses are neither
terminated nor abrogated.

 

Last Four Digits of Acct.

No.

Collateral
Description/Address

Creditor

 

 

 

 

 

 

 

6. LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the

Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.
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(a) Assumption of Leases/Executory Contracts for Real or Personal Property to
be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
follows.

 

Last Four Creditor/Lessor | Description of | Regular Arrearage and
Digits of Acct. Leased Contractual Proposed Cure
No. Property Payment

 

 

 

 

 

 

 

 

 

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to
be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
claims that are paid via automatic debit/draft from Debtor’s depository account and are to
continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and
in personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights.

 

Last Four Digits of Acct. Creditor/Lessor Property/Collateral

No.

 

 

 

 

 

 

 

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal
Leased Property. Debtor rejects the following leases/executory contracts and will
surrender the following leased real or personal property. The automatic stay is terminated
in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and
lessors upon the filing of this Plan.

 

No.

Last Four Digits of Acct. Creditor/Lessor Property/Collateral to be

Surrendered

 

 

 

 

 

 

 

Te GENERAL UNSECURED CREDITORS. General unsecured creditors with

allowed claims shall receive a pro rata share of the balance of any funds remaining after payments

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to the above referenced creditors or shall otherwise be paid under a subsequent Order Confirming
Plan. The estimated dividend to unsecured creditors shall be no less than $0.00.

D. GENERAL PLAN PROVISIONS:

l.

Secured creditors, whether or not dealt with under the Plan, shall retain the liens
securing such claims.

Payments made to any creditor shall be based upon the amount set forth in the
creditor’s proof of claim or other amount as allowed by an Order of the Bankruptcy
Court.

If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
or dismissal of this case, unless the Court orders otherwise. Property of the estate

(a) shall not vest in Debtor until the earlier of Debtor’s discharge or
dismissal of this case, unless the Court orders otherwise, or

(b) xX shall vest in Debtor upon confirmation of the Plan.
The amounts listed for claims in this Plan are based upon Debtor’s best estimate
and belief and/or the proofs of claim as filed and allowed. Unless otherwise ordered
by the Court, the Trustee shall only pay creditors with filed and allowed proofs of
claim. An allowed proof of claim will control, unless the Court orders otherwise.

Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions. The actual distributions may vary. If the summary or spreadsheet
conflicts with this Plan, the provisions of the Plan control prior to confirmation,
after which time the Order Confirming Plan shall control.

Debtor shall timely file all tax returns and make all tax payments and deposits when
due. (However, if Debtor is not required to file tax returns, Debtor shall provide the
Trustee with a statement to that effect.) For each tax return that becomes due after
the case is filed, Debtor shall provide a complete copy of the tax return, including
business returns if Debtor owns a business, together with all related W-2s and Form
1099s, to the Trustee within 14 days of filing the return. Unless otherwise ordered,
consented to by the Trustee, or ordered by the Court, Debtor shall turn over to the
Trustee all tax refunds in addition to regular Plan payments. Debtor shall not
instruct the Internal Revenue Service or other taxing

agency to apply a refund to the following year’s tax liability. Debtor shall not
spend any tax refund without first having obtained the Trustee’s consent or
Court approval.

E. NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
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Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set
out in this section are deemed void and are stricken.

The Debtor disputes that he owes the Villas at Lakeside Condominium Association. He
currently has an active appeal with the Fifth District Court of Appeal challenging the foreclosure
judgment against him, and arbitration cases as well. However, the Debtor understands that the
judgment appears to give the Villas at Lakeside Condominium Association a secured claim against
his property. Therefore, the Debtor proposes to pay an adequate protection payment based on the
value of the property. The Debtor believes that the value is less than $100,000.00 and is getting an
appraisal of the property to confirm the actual value. The Debtor proposes to value the property at
the market value, amortized over 30 years at 6.5% interest with a 24-month balloon. Until the
appraisal is complete, the Debtor will use $100,000.00 for the valuation. The Debtor will adjust
his schedules and amend his plan if the appraisal reflects a different value for the property.

However, because the Debtor believes that the Villas at Lakeside Condominium Association
is not entitled to any payment, he asks that the Chapter 13 Trustee hold the adequate protection
payments pending a resolution of the appeal and/or the arbitration cases.
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CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.

SIGNATURE(S):

~ Date _ | | Ly 5 | IQ

Date

 

 

Attorney for neni

Charles Price, Esq.

  

Date lzz| IG

 

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of this Chapter 13 Plan of Debtors was furnished by
United States mail, postage prepaid, to All Creditors and Parties in Interest as listed on the

Court’s Matrix as attached, this 22nd day of January 2019.

/s/ CHARLES W. PRICE
CHARLES W. PRICE, ESQ.
Attorney for Debtors

PRICE LAW FIRM

400 Maitland Ave., Suite 1000
Altamonte Springs, FL 32701
charlie@cpricelawfirm.com

p. 407.834.0090, f. 407.386.7610
Fla. Bar No. 870862

 

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DUE DATE | 18-07976-ABB Rajabi
26th 1/26/2019 10.0% Villas at Lakeside
Unsecured Debtor Pmt Tee Fee ATTY Condominium Assoc
60 60 $3,000.00
1/26/2019| 1 $0.13 | $758.00 $75.80 $50.00 $632.07
2/26/2019| 2 $0.13 $758.00 $75.80 $50.00 $632.07
3/26/2019} 3 $0.13 $758.00 $75.80 $50.00 $632.07
4/26/2019| 4 $0.13 $758.00 $75.80 $50.00 $632.07
5/26/2019} 5 $0.13 $758.00 $75.80 $50.00 $632.07
6/26/2019| 6 $0.13 $758.00 $75.80 $50.00 $632.07
7/26/2019| 7 $0.13 $758.00 $75.80 $50.00 $632.07
8/26/2019| 8 $0.13 $758.00 $75.80 $50.00 $632.07
9/26/2019} 9 $0.13 $758.00 $75.80 $50.00 $632.07
10/26/2019| 10 $0.13 $758.00 $75.80 $50.00 $632.07
11/26/2019] 11 $0.13 $758.00 $75.80 $50.00 $632.07
12/26/2019| 12 $0.13 $758.00 $75.80 $50.00 $632.07
1/26/2020| 13 $0.13 $758.00 $75.80 $50.00 $632.07
2/26/2020| 14 $0.13 $758.00 $75.80 $50.00 $632.07
3/26/2020| 15 $0.13 $758.00 $75.80 $50.00 $632.07
4/26/2020| 16 $0.13 $758.00 $75.80 $50.00 $632.07
5/26/2020) 17 $0.13 $758.00 $75.80 $50.00 $632.07
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8/26/2022! 44 $0.13 $758.00 $75.80 $50.00 $632.07
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2/26/2023| 50 $0.13 $758.00 $75.80 $50.00 $632.07
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12/26/2023| 60 $0.13 | 60jat $758.00 $75.80 | 60/at $50.00] 60/at 60/at $632.07| 60/at
$7.80 $45,480.00) $4,548.00 $3,000.00 $37,924.20
$0.00 | ATTY
#DIV/O! |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
abel Matrix for local re ase 6:18-Dk-07976-CCy.. TRG Loerie e 01/22/19 Page deh dint of Revenue

13A-6 Office of the United States Trustee
ase 6:18-bk-07976-ABB George C Young Federal Building
iddle District of Florida 400 West Washington Street, Suite 1100
rlando Orlando, FL 32801-2210

ue Jan 22 08:39:21 EST 2019

nternal Revenue Service Seminole County Tax Collector

ost Office Box 7346 Post Office Box 630

hiladelphia PA 19101-7346 Sanford FL 32772-0630

harles W Price Laurie K Weatherford

rice Law Firm Post Office Box 3450

00 Maitland Avenue Winter Park, FL 32790-3450

ltamonte Springs, FL 32701-5419

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ailable recipients 8
ypassed recipients 0
otal 8

Bankruptcy Unit
Post Office Box 6668
Tallahassee FL 32314-6668

Villas at Lakeside Condo Ass
c/o Garfinkel Whynot

300 N Maitland Ave.
Maitland, FL 32751-4724

Massoud Rajabi
PO Box 622704
Oviedo, FL 32762-2704
